                                                                                Case 3:17-cv-05211-WHA Document 22 Filed 09/12/17 Page 1 of 1



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                                                                          6                            IN THE UNITED STATES DISTRICT COURT
                                                                          7
                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   REGENTS OF UNIVERSITY OF
                                                                         11   CALIFORNIA and JANET NAPOLITANO in
United States District Court




                                                                              her official capacity as President of the                      No. C 17-05211 WHA
                                                                              University of California,
                               For the Northern District of California




                                                                         12
                                                                         13                   Plaintiffs,
                                                                                                                                             ORDER SETTING CASE
                                                                         14     v.                                                           MANAGEMENT
                                                                                                                                             CONFERENCE
                                                                         15   UNITED STATES DEPARTMENT OF
                                                                              HOMELAND SECURITY and ELAINE
                                                                         16   DUKE in her official capacity as Acting
                                                                              Secretary of the Department of Homeland
                                                                         17   Security,

                                                                         18                   Defendants.
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                                                                         20           A case management conference will be held on THURSDAY, SEPTEMBER 21 AT 10:30
                                                                              A.M.   The parties shall meet and confer in advance of the hearing on what they believe should be
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                                                                         22   the schedule for the case including any potential provisional relief. Plaintiffs shall serve this

                                                                         23   order on defendants.

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                                                                         25           IT IS SO ORDERED.

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                                                                         27   Dated: September 12, 2017.
                                                                                                                                        WILLIAM ALSUP
                                                                         28                                                             UNITED STATES DISTRICT JUDGE
